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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND
        Chambers of                                                          101 West Lombard Street
   George L. Russell, III                                                    Baltimore, Maryland 21201
 United States District Judge                                                      410-962-4055



                                           August 21, 2012

MEMORANDUM TO COUNSEL RE:                       Joel I. Sher, Chapter 11 Trustee for TMST, Inc., et
                                                al. v. Countrywide Home Loans, Inc., et al.
                                                Civil Action No. GLR-11-3192


Dear Counsel:

         Currently pending before the Court is Defendant Countrywide Home Loans, Inc.’s
(“Countrywide”) Motion to Transfer Venue to the United States District Court for the Central
District of California. (ECF No. 71). Countrywide’s Motion has been fully briefed and is ripe
for disposition. No hearing is necessary. See Local Rule 105.6 (D.Md. 2011). For the reasons
that follow, the Motion to Transfer Venue will be granted.

        This action concerns the alleged breach of two Mortgage Loan Purchase and Servicing
Agreements originated by Countrywide. Countrywide seeks transfer of this action to Judge
Mariana R. Pfaelzer in the Central District of California, who currently presides over several
actions involving residential mortgage loans originated by Countrywide.

        A district court may transfer a civil action to any other district where the action may have
been brought, or by party consent, “[f]or the convenience of parties and witnesses [and] in the
interest of justice.” 28 U.S.C. § 1404(a).1 The burden is on the defendant, however, to “show by
a preponderance of the evidence that the proposed transfer will better and more conveniently
serve the interests of the parties and witnesses and better promote the interests of justice.”
CoStar Realty Info., Inc. v. Meissner, 604 F.Supp.2d 757, 770 (D.Md. 2009) (citation and
internal quotation omitted). When determining whether transfer is appropriate pursuant to §
1404(a), the court must consider whether (1) the transferee court is one in which the action could
have been brought initially, (2) the transfer is convenient to the parties and witnesses, and (3) the
transfer is in the interest of justice. Dow v. Jones, 232 F.Supp.2d 491, 499 (D.Md. 2002)
(citations omitted).


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          Both parties also reference 28 U.S.C. § 1412, which states “[a] district court may
transfer a case or proceeding under title 11 to a district court for another district, in the interest of
justice or for the convenience of the parties.” There is a split, however, regarding which transfer
statute applies to actions involving an underlying bankruptcy proceeding. See Dunlap v.
Freidman’s, Inc., 331 B.R. 674, 677 (S.D.W.Va. 2005). In light of the Court’s July 3, 2012
Order discussed infra, § 1404 will govern this action.
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        According to Countrywide, transfer is proper because (1) this suit could have been filed
in the Central District of California, (2) it would be more efficient to allow factually similar
actions to proceed in the same district, (3) most of the potential witnesses work and/or reside in
the proposed district, (4) the conduct at the center of this dispute arose in California, and (5)
most of the relevant documents are located in California. (Def.’s Mot. to Transfer Venue at 13-
20, ECF No. 71-1). Moreover, Defendant avers that, absent the bankruptcy proceeding, there is
no connection between the facts in this case and the state of Maryland. (Id. at 20-21).

        Conversely, Plaintiffs’ primary argument is that the aforementioned transfer factors are
construed differently in the bankruptcy context. (Pls.’ Opp’n at 5-6, ECF No. 80). Namely,
Plaintiffs aver that the “interest of justice” factor requires two actions: (1) consideration of the
economic and efficient administration of the bankruptcy estate; and (2) greater deference to
Plaintiffs’ choice of forum due to the presumption in favor of remaining in the court where the
underlying bankruptcy proceeding is pending. (Id. at 5-10). Plaintiffs also argue that this case is
not sufficiently related to the actions pending in the Central District of California because it is a
breach of contract action, which is distinguishable from the pending California actions asserted
under federal and state securities laws. (Id. at 10-13).

       It is undisputed that Plaintiffs could have originally filed this action in the Central District
of California. Therefore, the Court must determine whether the transfer will promote
convenience and justice. In terms of convenience, the events that gave rise to this action and the
potential witnesses are located in California. Moreover, there is no indication that this forum has
a connection to the pending matter beyond Mr. Sher’s principal place of business in Baltimore
City, Maryland and TMST’s Maryland incorporation.                  Requiring these individuals to
occasionally travel does not outweigh the convenience to the parties and witnesses of having the
case continue in the Central District of California. The convenience factor, therefore, weighs in
favor of transfer.

        The interest of justice also weighs in favor of transfer. Plaintiffs’ primary argument
against this factor is that the case should remain in the district that holds the underlying
bankruptcy matter. On July 3, 2012, however, the Honorable Benson Everett Legg of this Court
granted Defendants’ Joint Motion to Withdraw Reference in this matter. (See ECF No. 4).
Plaintiffs’ argument regarding the application of the transfer factors in the bankruptcy context is,
therefore, moot. Moreover, similar cases against Countrywide are currently pending before
Judge Pfaelzer who has become familiar with the nuances of litigation concerning this
Defendant. Transferring this matter to the Central District of California would not only be
convenient to the parties and witnesses, but also promote judicial economy and efficiency.

        For the aforementioned reasons, Countrywide has met its burden of proof that transfer of
this case is appropriate. Accordingly, the Court GRANTS Countrywide’s Motion to Transfer
Venue to the Central District of California.




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        Despite the informal nature of this memorandum, it shall constitute an Order of the Court
and the Clerk is directed to docket it accordingly. The Clerk is also ordered to transfer this case
to the Central District of California.

                                             Very truly yours,

                                                   /s/
                                             __________________
                                             George L. Russell, III




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